        Case 19-12825 Doc 7 Filed 10/15/19 Entered 10/15/19 16:28:46 Main Document Page 1 of 1
 Fill in this information to identify your case:

 Debtor 1                  Paul Michael McGoey
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Lakeside Imports Inc                                                       Leased 2018 Toyota RAV 4 for my son Garrett McGoey
               3701 N. Causeway Blvd.
               Metairie, LA 70002

     2.2       Lakeside Imports Inc                                                       Leased 2018 Toyota RAV 4 for my daughter Kendall
               3701 N. Causeway Blvd.                                                     McGoey
               Metairie, LA 70002

     2.3       Lakeside Imports Inc                                                       Leased 2019 Toyota RAV 4 for Lisa McGoey
               3701 N. Causeway Blvd.
               Metairie, LA 70002

     2.4       Lakeside Imports Inc                                                       Leased 2019 Toyota Corolla for Paul McGoey
               3701 N. Causeway Blvd.
               Metairie, LA 70002




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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